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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA

    NAVY SEAL 1, et al.,

           Plaintiffs,
                                                     Case No. 8:21-cv-2429-SDM-TGW
    and

    THOMAS MORE MACIK,                               SUPPLEMENTAL DECLARATION IN
                                                     SUPPORT OF THE MOTION TO
    Plaintiff-Intervenor,                            INTERVENE OF THOMAS MORE
                                                     MACIK, USMC
    v.

    LLOYD AUSTIN, et al.,

           Defendants.



     Supplemental Declaration in Support of the Motion to Intervene of First Lieutenant
                            Thomas Macik, U.S. Marine Corps

    I, Thomas More Macik, do hereby declare as follows:

    1.     I am over the age of 18 years, have personal knowledge of the matters set forth in

    this Declaration, and if called upon to testify to them, I would and could do so competently.

    2.     I am a First Lieutenant and an active duty 7208/Air Support Control Officer in the

    United States Marine Corps currently serving at Marine Air Support Squadron 2 at Marine

    Corps Air Station Futenma, Okinawa, Japan.

    3.     On 14 February, 2022, I filed a motion to intervene and an application for a

    temporary restraining order against my Commanding Officer’s order to submit to

    vaccination against COVD-19 by close of business on 16 February, 2022 or else face

    adverse punitive or administrative action.




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    4.     On 24 February, 2022, I submitted an Article 138 complaint to Major General Brian

    W. Cavanaugh, Commanding General, 1st Marine Aircraft Wing, in follow up to my

    Request for Redress submitted on 26 October, 2021 and my Request for Redress submitted

    on 11 February, 2022. My complaint is attached as exhibit K.

    5.     On 24 – 25 February, 2022, I participated in an Alert Contingency Marine Air

    Ground Task Force Drill (ACM). For this no-notice squadron readiness drill I was part of

    an 8-person team which activated in order to validate support requirements and prepare

    Marines to support operations within the INDOPACOM Area of Operations (AO) within

    48 hours. Additionally, I am still performing full time duties as the Squadron Adjutant.

    6.     On 28 February, 2022, I completed my separation physical examination with the

    Marine Air Control Group-18’s health care provider Lieutenant Commander Daniel B.

    MacHue MD. During the physical examination, Lieutenant Commander MacHue told me

    that he is finding it harder to defend the COVID vaccines as being necessary for military

    service members who, being generally young and healthy, are in a risk group that does not

    benefit from the vaccines, which do not prevent transmission but rather prevent severe

    hospitalization or illness. I also asked LCDR MacHue about the availability of an FDA

    licensed COVID-19 vaccine. At that time LCDR MacHue could not say whether one was

    available or not; however, he later responded to one of my peers saying that neither

    Comirnaty nor any other FDA-approved vaccine is currently available on Okinawa. This

    email is attached as exhibit L.

    7.     On 28 February, 2022, Defendants submitted a memorandum of law in opposition

    to my motion to intervene.




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    8.     On 3 March, 2022, my Commanding Officer served me with the Commanding

    General’s ‘Notification of Recommendation for Administrative Separation’ addressed to

    me and the Commanding General’s ‘Report of Misconduct’ addressed to the Commandant

    of the Marine Corps. The ‘Notification of Recommendation for Separation’ officially

    begins separation procedures. The ‘Report of Misconduct’ documents my failure to submit

    to vaccination against COVID-19 within the timeline provided by my Commanding

    Officer. Further, it recommends that I be separated with a General (under honorable

    conditions) characterization of service. A ‘General’ characterization of service could affect

    employment and will make me ineligible for educational assistance through the GI Bill.

    Major General Cavanaugh recommends that I be separated on the grounds that my failure

    to submit to vaccination within the timeline set by my Commanding Officer, “endangers

    the force, degrades the combat readiness of his squadron, and sets a poor example for

    junior Marines in his command.” The ‘Notification of Recommendation for Separation’

    and the ‘Report of Misconduct’ are attached as exhibits M and N.

    9.     On 3 March, 2022, I signed acknowledgements of receipt for both the

    ‘Recommendation for Administrative Separation’ and the ‘Report of Misconduct’. In both

    acknowledgements, I requested to submit a statement in response to the ‘Report of

    Misconduct’ and a rebuttal to the Commanding General’s recommendation for separation.

    Because I have less than six years of service, I do not rate a Board of Inquiry. My statement

    in response to the ‘Report of Misconduct’ and my rebuttal of the recommendation for

    separation are my only means of defending myself in this process. My deadline for

    submitting both is close of business 13 March, 2022 Japanese Standard Time (12 March

    EST). My acknowledgements for both are attached as exhibits O and P.



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    10.    On 5 March, 2022, I submitted a request for an extension of my deadlines to submit

    a statement in response to the ‘Report of Misconduct’ and my rebuttal to the Commanding

    General’s recommendation for separation. I requested an extension until I am provided

    documents related to my situation which I have requested through a Freedom of

    Information Act request as well as through my chain-of-command. As of this writing I have

    not yet received a response to my request for an extension of the deadlines. Further, I was

    informed by the 1st MAW Staff Judge Advocate that Major General Cavanaugh will not

    likely see my request until Friday, 11 March, which is two days before the deadline. My

    request is attached as exhibit Q.

    11.    Neither my Commanding Officer nor any of his superior officers have answered my

    questions about the availability of an FDA licensed COVID-19 vaccine on Okinawa. To

    the best of my knowledge there is still no FDA licensed vaccine currently available to me.

    12.    The Marine Corps must afford me the 10 calendar days until 13 March to submit

    written matters, but after that date the speed of my separation will be no slower than the

    Marine Corps processes the paperwork. The ‘Report of Misconduct’ and the separation

    notification will be forwarded to the Deputy Commandant for Manpower and Reserve

    Affairs who will formulate the final Marine Corps recommendation for my case. The

    Deputy Commandant for Manpower and Reserve Affairs will forward that

    recommendation to the Assistant Secretary of the Navy for Manpower and Reserve Affairs

    (ASN M&RA) who is the Separation Authority for officers. Once the ASN M&RA signs

    my final separation letter that orders my discharge, my command will only need to

    implement it. This will mean requiring me to attend the Transition Readiness Seminar (3

    days), return my individually issued items (main pack, body armor, sleep system etc. 1



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    day), and schedule my move and flight (1 day). I will then receive orders to detach from

    my unit and report to Separations Platoon either in Camp Lejeune, NC or Pendleton, CA, to

    receive my DD-214 (Certificate of Discharge).

    13.    Once I submit my rebuttal to Major General Cavanaugh’s recommendation for

    separation on 13 March, I will, to the best of my knowledge, have exhausted every means I

    have of protecting my reputation and career, and of speaking in defense of the Constitution

    as I swore to in my commissioning oath. There is no indication of how thoroughly my

    rebuttal will be considered, or if at all. Nor is there any requirement for the ASN M&RA to

    respond to my rebuttal. The very next step is separation.

    14.    I want to continue to serve my country in the United States Marine Corps with my

    unit and also practice my faith.

    15.    I declare under penalty of perjury, under the laws of the United States, that the

    foregoing statements are true and correct to the best of my knowledge.

           Executed this March 7, 2022.


                                          ______/s/ Thomas M. Macik_______________
                                          Thomas M. Macik
                                          First Lieutenant
                                          United States Marine Corps
                                          (original signature retained by signer)




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